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                            IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO


  Civil Action No. 18-cv-03199-DME-NRN

  HEATHERDAWN GENTRY,

               Plaintiff,

  v.

  PRESTIGE SERVICES, INC.,

               Defendant.


                                 ORDER OF DISMISSAL


        THIS MATTER comes before the Court upon Plaintiff’s Notice of Voluntary

  Dismissal (Doc. No. 9).

        IT IS THEREFORE ORDERED THAT that this civil action is dismissed with

  prejudice. Each party shall pay its own costs and attorneys' fees.



        Dated: January 3, 2019



                                           BY THE COURT:


                                           s/ David M. Ebel

                                           UNITED STATES CIRCUIT JUDGE
